Case 5:24-cr-00097-TPB-PRL   Document 15-1   Filed 01/30/25   Page 1 of 3 PageID 66




                             Exhibit A
                                                     Case 5:24-cr-00097-TPB-PRL                               Document 15-1                 Filed 01/30/25              Page 2 of 3 PageID 67
                                                                 Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents                                 8331

                                                                                                    Presidential Documents



                                                                                                    Proclamation 10887 of January 20, 2025

                                                                                                    Granting Pardons and Commutation of Sentences for Certain
                                                                                                    Offenses Relating to the Events at or Near the United States
                                                                                                    Capitol on January 6, 2021


                                                                                                    By the President of the United States of America

                                                                                                    A Proclamation
                                                                                                    This proclamation ends a grave national injustice that has been perpetrated
                                                                                                    upon the American people over the last four years and begins a process
                                                                                                    of national reconciliation.
                                                                                                    Acting pursuant to the grant of authority in Article II, Section 2, of the
                                                                                                    Constitution of the United States, I do hereby:
                                                                                                      (a) commute the sentences of the following individuals convicted of of-
                                                                                                    fenses related to events that occurred at or near the United States Capitol
                                                                                                    on January 6, 2021, to time served as of January 20, 2025:
                                                                                                         • Stewart Rhodes
                                                                                                         • Kelly Meggs
                                                                                                         • Kenneth Harrelson
                                                                                                         • Thomas Caldwell
                                                                                                         • Jessica Watkins
                                                                                                         • Roberto Minuta
                                                                                                         • Edward Vallejo
                                                                                                         • David Moerschel
                                                                                                         • Joseph Hackett
                                                                                                         • Ethan Nordean
                                                                                                         • Joseph Biggs
                                                                                                         • Zachary Rehl
                                                                                                         • Dominic Pezzola
                                                                                                         • Jeremy Bertino
                                                                                                      (b) grant a full, complete and unconditional pardon to all other individuals
                                                                                                    convicted of offenses related to events that occurred at or near the United
                                                                                                    States Capitol on January 6, 2021;
                                                                                                    The Attorney General shall administer and effectuate the immediate issuance
                                                                                                    of certificates of pardon to all individuals described in section (b) above,
                                                                                                    and shall ensure that all individuals convicted of offenses related to events
                                                                                                    that occurred at or near the United States Capitol on January 6, 2021,
                                                                                                    who are currently held in prison are released immediately. The Bureau
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                                                                                                    of Prisons shall immediately implement all instructions from the Department
                                                                                                    of Justice regarding this directive.
                                                                                                    I further direct the Attorney General to pursue dismissal with prejudice
                                                                                                    to the government of all pending indictments against individuals for their
                                                                                                    conduct related to the events at or near the United States Capitol on January
                                                                                                    6, 2021. The Bureau of Prisons shall immediately implement all instructions
                                                                                                    from the Department of Justice regarding this directive.


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                                                     Case 5:24-cr-00097-TPB-PRL                               Document 15-1                 Filed 01/30/25              Page 3 of 3 PageID 68
                                                8332             Federal Register / Vol. 90, No. 18 / Wednesday, January 29, 2025 / Presidential Documents

                                                                                                    IN WITNESS WHEREOF, I have hereunto set my hand this twentieth day
                                                                                                    of January, in the year of our Lord two thousand twenty-five, and of the
                                                                                                    Independence of the United States of America the two hundred and forty-
                                                                                                    ninth.




                                                [FR Doc. 2025–01950
                                                Filed 1–28–25; 8:45 am]
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